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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

United States of America,                        Case No. 0:18-cr-120-ADM-KMM-1

                   Plaintiff,                     REPORT AND
                                              RECOMMENDATION
v.

Dwight Frederick Barnes
                  Defendant.


      Defendant Dwight Frederick Barnes has filed motions to suppress evidence
obtained during the execution of several search warrants and a warrantless arrest.
(ECF Nos. 43, 51) He also seeks to dismiss the Indictment against him on a variety
of grounds. (ECF No. 49.) For the reasons discussed below, the Court recommends
that Mr. Barnes’s motions be DENIED.

I.    Factual Background

       An investigation into Mr. Barnes for drug trafficking began in mid-July 2017
led by Rochester Police Department Investigators Shamus Ryan and Kelly McMillin.
(Transcript of the Dec. 4, 2018 Motions Hearing at 27.) Around that time, a
confidential informant advised Investigator Ryan that he knew of an area drug dealer
named “New York,” and provided him with New York’s phone number, ending in
-9283. (Id.; see also Govt. Ex. 1 at 000550.) Under Investigator Ryan’s direction and
supervision, that informant called the -9283 phone number in order to set up a
controlled buy. (Tr. 27–28.) The man who answered the other line had a deep and
distinctive voice, one that Investigator Ryan would later testify he recognized as
belonging to Mr. Barnes. Investigator Ryan instructed the informant to arrange to
purchase $500 worth of drugs. New York told the informant to call back later, and
when he did, the informant was instructed to meet a man named Chad at a specified
address. (Id. at 28.) However, the controlled buy ultimately fell through. (Id.)




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       Although the planned buy did not occur, the investigation continued.
Investigator McMillin spoke with a different informant, who corroborated some of
what Investigator Ryan had already learned. A third informant provided information
that helped further develop a picture of New York. Ultimately, the officers learned
that New York was a black man known to be one of the largest drug dealers in
Rochester. (Govt. Ex. 1.) He regularly drove a Dodge Charger, and his phone
number matched the one that had been used to set up the unsuccessful controlled
buy. (Tr. 29, 31–32, 34.) New York was an alias known by the Rochester Police
Department to be used by Mr. Barnes, whose distinctive voice on unrelated body
camera footage matched that of the man who answered New York’s phone. (29, 32–
33.) And Mr. Barnes had been observed driving a Dodge Charger during past traffic
stops and surveillance. (Tr. 31.) Armed with this information, the investigators
sought search warrants.

      A.     The Warrants

       Investigator McMillin applied for a pen register, trap and trace, and tracking
warrant for the phone associated with the -9283 number on August 22, 2017. The
affidavit contained two mistakes. First, an erroneous phone number was put in the
caption of the affidavit, although that incorrect number was not repeated in the
affidavit or the warrant itself. (Govt. Ex. 1.) Second, Investigator McMillin
incorrectly wrote that Investigator Ryan had spoken with the informant that had given
them the -9283 number in August 2017, even though the conversation had actually
occurred in July. (Compare Govt. Ex. 1 at 000550 with Tr. 27.) Regardless, the warrant
was issued by Judge Stevens of Olmstead County and executed on the same day.

       Investigator McMillin applied for another pen register, trap and trace, and
tracking warrant for a business phone number associated with Mr. Barnes, ending in
-4603, on September 6, 2017. The first several paragraphs of the affidavit were
essentially copied from the previous warrant, with one significant difference. In the
fourth paragraph, which describes the phone call and attempted controlled buy, the
affidavit omits the fact that the call took place using the -9283 number, not the -4603
number that the warrant was being requested for. (Compare Govt. Ex. 1 at 000550 with
Govt. Ex. 2 at 000520.) Instead, the application states that the call had been made to
“this phone number,” arguably implying that it was made to the phone for which the


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second tracking warrant was being sought, -4603. Additional information specifically
regarding Mr. Barnes’s regular use of the -4603 number was also added to the
affidavit. (Govt. Ex. 2 at 000520–21.) The affidavit described that the number had
been used for calls from an inmate at a local jail as well as for calls between Mr.
Barnes and the Rochester Police Department. The warrant was issued by Judge Chase
of Olmstead County and executed the same day.

       Several other warrants at issue in this motion were issued in the months of
September and October. On September 28, 2017, a search warrant was issued for Mr.
Barnes’s business Gmail account, lifechangingfinances@gmail.com. (Govt. Ex. 4.)
On October 13, 2017, investigators applied for and were issued a search warrant for
Mr. Barnes’s personal Gmail account, dfbarnes@gmail.com. (Govt. Ex. 3.) Each of
these warrants directed broad seizure of all data associated with these accounts,
followed by a more targeted review and analysis of the seized information, in order to
locate data associated with criminal activity.

       The final warrant at issue sought account ownership information, current
balances, and transaction records for Mr. Barnes’s personal and business bank
accounts at Wells Fargo Bank. (Govt. Ex. 7.) This warrant has an unusual procedural
history. It was issued on October 16, 2017 and executed on the same day. (Govt. Ex.
7 at 00001989.) However, it was returned more than a year later, on November 5,
2018. Furthermore, the return was not filed with the Olmstead County Clerk until
December 12, 2018. (Id.) It was later discovered that the search warrant had
inadvertently not been included in the filing, so the return was later refiled on
February 12, 2019. (Id. at 00002003.)

      B.     Additional Investigation

       Throughout the investigation, officers learned of Mr. Barnes’s alleged
involvement in trafficking through a variety of other sources. Investigator Ryan
learned that while Mr. Barnes was incarcerated in October 2016, jail staff had
observed him involved in suspicious activity. Mr. Barnes was on work release
(released to work during the day, but returned to the jail at night), and on his return
from work, staff observed Mr. Barnes with “stacks of hundred dollar bills.” (Tr. 30.)




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They also overheard Mr. Barnes speaking with another inmate about packaging items
in plastic. (Id.) Jail staff believed this conversation referred to drugs. (Id.)

        Mr. Barnes had multiple interactions with law enforcement, and on at least one
occasion had bragged to officers that he owned several nice vehicles, that he paid for
everything in cash, and told the officers that they must be jealous because they could
not live like he did. (Id. at 31.) Suspecting that this cash may not be from legitimate
sources, investigating officers requested tax returns for Mr. Barnes for 2014–2016, but
found that he had not filed any taxes for those years. (Id.) Investigator Ryan also
considered the vehicles that Mr. Barnes had been seen driving during interactions with
law enforcement and surveillance, including a 2011 Cadillac Escalade, a 2014 Dodge
Charger, and a 2017 Can-Am Spyder. (Id. at 34.) Investigator Ryan learned that none
of these vehicles were in Mr. Barnes’s name—the registered owner was an individual
that law enforcement never saw, despite the significant surveillance conducted during
the investigation. (Id.) Officers went to the dealerships where the cars had been
purchased and learned that the registered owner of the vehicles had purchased them
with Mr. Barnes in tow. (Id.) The salespeople informed officers that in each instance,
it appeared that Mr. Barnes, and not the registered owner, was making the decisions.
(Id. at 35.) Investigator Ryan testified that in his experience, putting vehicles in
another person’s name is indicative of criminal activity because it is intended to evade
law enforcement. (Id.)

       Investigator Ryan identified at least two other customers of Mr. Barnes who
officers hoped would cooperate with law enforcement and participate in a controlled
drug buy. (Id. at 36.) However, the individuals refused to participate in any
undercover transactions, claiming that Mr. Barnes was incredibly dangerous, and they
were “deathly afraid” of him. (Id. at 37.) While the individuals were unwilling to
participate in a buy, they did provide information to law enforcement. In August of
2017, one customer described New York as an individual who drove an Escalade
from whom they had purchased methamphetamine at least five times in the previous
month. (Id. at 38; see also Govt. Ex. 7 at 0002035.)

     Another customer knew Mr. Barnes by name and knew that he often went by
New York. (Id. at 39.) She told investigators that she had purchased two to three
pounds of methamphetamine in total from Mr. Barnes since he had been released


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from prison. (Id.) She also knew how he brought drugs into Rochester. (Id. at 40.)
According to the informant, Mr. Barnes had a brother who lived in Las Vegas who
shipped drugs to Minnesota for him. (Tr. 59.) These drugs were shipped to various
addresses within Rochester. (Tr. 40.) Mr. Barnes did not pick the packages up
himself, but instead sent others to do so. (Id.) One of the addresses that Mr. Barnes
used was the 11th Street address of the deceased father of a man named Eric
Hoerner. (Id.)

      C.     Mr. Barnes’s Arrest

       On October 20, 2017, Rochester Police responded to a 911 call just before
11:00 a.m. regarding an incident occurring at the 11th Street Hoerner address. (Tr.
63–64.) Shawna Cada, Eric Hoerner’s girlfriend, called 911 after a package was
dropped off at the doorstep of the 11th Street house. She informed the operator that
two men came to the house and wanted to retrieve the package from the house. (Id.
at 46.) She told them she would not give them the package, and when it was delivered
at 10:57 a.m., she brought it inside. (Id.) Shortly thereafter, however, one of the men
returned to the door and demanded the package. (Id.) Ms. Cada refused and took a
picture of the person at the door. (Id. at 64.) The picture was of a black man in a
dark sweatshirt, but it was not Mr. Barnes. (Id.; see also Def. Ex. G.) However, GPS
data from Mr. Barnes’s phone placed him within a block and a half of the address just
minutes before the man came to Ms. Cada’s door. (Tr. 74–75.)

       Mr. Hoerner arrived at the 11th Street address shortly after the police arrived
and claimed it was “New York” who was trying to get the package. Mr. Hoerner
explained that New York had come by earlier that morning, driving a white Dodge
Charger. (Tr. 46.) Mr. Barnes asked Mr. Hoerner if he could have packages sent to
the 11th Street address. (Tr. 46, 73.) Mr. Hoerner told him that he was clean, not
involved in drugs anymore, and refused to have drugs delivered to the house. (Id. at
46.) Mr. Hoerner also told officers that Mr. Barnes had traveled to a restaurant near
the 11th Street address, Cheap Charlies, where Mr. Hoerner was eating lunch to try to
convince him to release the package. (Id. at 47.) Mr. Hoerner refused. (Id.)

       GPS tracking data corroborates much of Mr. Hoerner’s description of events.
Investigator Ryan testified that the GPS location data collected as a result of the


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phone tracking warrants “pinged” the location of the phone approximately every
fifteen minutes. (Id. at 83.) This data revealed that Mr. Barnes’s phone was at the 11th
Street address at 10:20 a.m., about forty minutes before the package arrived. (Id. at
73, 83–84.) At approximately 10:54 a.m., three minutes before the package arrived at
the 11th Street address, location data indicated that Mr. Barnes was within a block and
a half of the residence. (Id. at 84.) However, no location data confirms or refutes that
Mr. Barnes went to Cheap Charlies in between his visits to the 11th Street address.
(Id. at 84–7.)

       When officers opened the package at the 11th Street address, they found
approximately two pounds of suspected methamphetamine. (Id.) Law enforcement
officers decided to arrest Mr. Barnes. Using the phone they had already used to gain
GPS data as to his whereabouts, officers located Mr. Barnes at a construction site
sometime after noon. (Id. at 48, 82.) Mr. Barnes was not driving the Dodge Charger
that Ms. Cada described, but instead had a different vehicle. (Id. at 48.) Mr. Barnes
broke the cell phone he was carrying, and officers took him into custody. (Id.)

II.   Analysis

       Mr. Barnes challenges the pen register, trap and trace, and tracking warrants
issued for both phone numbers associated with him for lacking probable cause. He
also argues that the affidavit for the -4603 warrant contained serious misstatements
that rendered it invalid. Mr. Barnes challenges the search warrants issued for his email
accounts as overbroad. Additionally, he argues that his warrantless arrest was without
probable cause. Finally, he seeks dismissal of his indictment as a remedy for several
due process violations. The Court addresses each of Mr. Barnes’s arguments in turn.

      A.     The Warrant for the -9283 Phone (the “ -9283 warrant”)

      Mr. Barnes asserts that the -9283 tracking warrant was not based on an
adequate showing of probable cause because the informants utilized by Officer
McMillin were unreliable. However, a review of the information contained within the
four corners of the warrant demonstrates that it was supported by an adequate
showing of probable cause. Furthermore, the Court determines that even if probable
cause did not exist, the Leon good faith exception would save the warrant.


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             1.     Probable Cause

        The Fourth Amendment states that “no warrants shall issue, but upon probable
cause.” The standard for determining whether a search warrant had probable cause to
issue is well-established:

      Whether probable cause to issue a search warrant has been established is
      determined by considering the totality of the circumstances. If an
      affidavit in support of a search warrant sets forth sufficient facts to lead
      a prudent person to believe that there is a fair probability that
      contraband or evidence of a crime will be found in a particular place,
      probable cause to issue the warrant has been established.

United States v. Notman, 831 F.3d 1084, 1088 (8th Cir. 2016) (quotations and citations
omitted.) A “common sense” approach should be used when determining whether
probable cause has been established, considering all the evidence available. Illinois v.
Gates, 462 U.S. 213, 238 (1983); States v. Solomon, 432 F.3d 824, 827 (8th Cir 2007). In
particular, applications and affidavits for search warrants “should be read with
common sense and not in a grudging hyper technical fashion.” United States v. Ryan,
293 F.3d 1059, 1061 (8th Cir. 2002) (quoting United States v. Goodson, 165 F.3d 610,
613 (8th Cir. 1999) (internal quotation marks omitted).

       When an affidavit contains information provided by one or more confidential
informants, the reliability of that informant is critical to the determination of probable
cause. A confidential informant may be considered reliable in a number of
circumstances, including when

      the information is based on his or her first-hand observations, or the
      informant has provided information against his or her penal interest or
      that implicates him or herself, or the informant’s information is
      corroborated by another informant or by the investigating officers, even
      where the facts which are corroborated are seemingly innocuous.

United States v. Mims, 567 F. Supp. 2d, 1059, 1068 (D. Minn. 2008) (collecting cases).
In circumstances where multiple informants provide information that is “reciprocally
corroborative,” that information can be enough to support a finding of probable
cause. United States v. Fulgham, 143 F.3d 399, 401 (8th Cir. 1998).

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       Against this legal backdrop, it is clear that the information contained in the
affidavit in support of the -9283 warrant established probable cause. In this case, three
CIs provided information that Investigator Kelly McMillin relied upon. Each
provided details to Investigator McMillin that corroborated the other’s information.
The first CI, CI1, 1 is an individual who had previously provided reliable information to
Investigator McMillin in other cases. (Govt. Ex. 1 at 000549.) CI1 identified a black
man using the nickname “New York” who is one of the biggest drug dealers in
Rochester. (Id.) He told Investigator McMillin that New York was bringing cocaine
and methamphetamine to Rochester to sell. (Id.)

        A second CI, CI2, provided corroborating information for CI1’s information to
Investigator McMillin’s partner, Investigator Ryan. CI2 informed Investigator Ryan
that a black man named New York was selling drugs in Rochester. CI2 knew other
details about New York, such as his phone number, which was the -9283 number, and
that New York drove a Dodge Charger. (Id. at 000550.) CI2 told Investigator Ryan
that he knew this information because he would contact New York to purchase
narcotics. Id. At Investigator Ryan’s behest and under his supervision, CI2 placed a
phone call to New York’s -9283 number in an attempt to arrange a narcotics purchase
from New York. Investigator Ryan recognized the voice on the phone call as Mr.
Barnes, with whom he was familiar because he had previously viewed body camera
footage of Mr. Barnes speaking with officers during an unrelated incident. Id.

       A third CI, CI3, corroborated much of CI1 and CI2’s information. Specifically,
he informed Investigator Ryan that he knew of a black man nicknamed New York
who was involved in the sale of drugs in Rochester. Id. CI3 also told Investigator
Ryan that New York drives a Dodge Charger and provided the same -9283 number
New York’s phone number. (Id.)

       The mutually corroborative information provided by all three informants is
enough to support finding that the CIs were reliable enough to provide probable
cause that the -9283 phone number belonged to Mr. Barnes, who was involved in
drug trafficking. E.g., Fulgham, 143 F.3d at 401. That finding is strengthened by the

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 For clarity’s sake, the Court labels the confidential informants discussed in the
warrants in the order that they appear in Government Exhibit 1.

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fact that information beyond the CIs also corroborates their information. For
example, Officer Ryan himself heard one of the informants arrange a drug transaction
with Mr. Barnes, though the transaction was never completed. And Investigator Ryan
had personally observed Ms. Barnes driving a Dodge Charger, both during traffic
stops and while conducting surveillance. (Govt. Ex. 1 at 000550.) Mr. Barnes was
also known to the Rochester Police Department, and his records indicated that he is a
black male and is known to use the alias “New York.” (Id.)

       In sum, these facts provided more than a “fair probability” that evidence of
drug trafficking would be found by tracking the location and communications made
by the phone associated with the -9283 number. The affidavit that accompanied the
-9283 warrant application was supported by sufficient probable cause. E.g., Notman,
831 F.3d at 1088.

              2.     Leon Good Faith Exception

        Even had the -9283 warrant been based upon an insufficient showing of
probable cause, the good faith exception would nonetheless preclude suppression. If
“an officer acting with objective good faith has obtained a search warrant from a
judge or magistrate and acted within its scope,” the good faith exception to the
exclusionary rule applies, even if a court later determines that the warrant was invalid.
United States v. Hopkins, 824 F.3d 726, 733 (8th Cir. 2016) (quoting United States v. Leon,
468 U.S. 897, 920 (1984)). However, the good faith exception is not without
limitations. It cannot be invoked:

       (1) when the affidavit or testimony supporting the warrant contained a
       false statement made knowingly and intentionally or with reckless
       disregard for its truth, thus misleading the issuing judge; (2) when the
       issuing judge wholly abandoned his judicial role in issuing the warrant;
       (3) when the affidavit in support of the warrant is so lacking in indicia of
       probable cause as to render official belief in its existence entirely
       unreasonable; and (4) when the warrant is so facially deficient that no
       police officer could reasonably presume the warrant to be valid.

United States v. Cannon, 703 F.3d 407, 412 (8th Cir. 2013).


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       Against this backdrop, it is clear that even if the -9283 warrant lacked probable
cause, the good faith exception applies. Mr. Barnes does not accuse Investigator
McMillin of intentionally and knowingly making a false statement in the affidavit for
the -92832; the issuing judge did not wholly abandon their judicial role; and there is no
suggestion of facial deficiency. Finally, the information offered in support of the
warrant is not so lacking in indicia of probable cause so that the belief in its validity is
entirely unreasonable. On the contrary, because the Court concludes above that there
was an adequate articulation of probable cause, law enforcement’s belief in the same
conclusion cannot be described as “entirely unreasonable.”

       B.     The Warrant for the -4603 Phone (the “ -4603 warrant”)

       Mr. Barnes challenges the validity of the -4603 warrant on several bases. First,
he argues that probable cause did not exist for the warrant to be issued. Specifically,
in addition to challenging the reliability of the affidavit’s information as he did with
respect to the first tracking application, Mr. Barnes argues that the information in the
second tracking application was stale and that it failed to tie the phone number in
question to any act of drug dealing. He also argues that intentional misstatements
made in the affidavit for the -4603 warrant render that warrant invalid. For the
reasons discussed below, the Court determines that none of these arguments carry the
day. Finally, Mr. Barnes again argues that the warrant is so deficient that the Leon
good faith exception does not apply.

              1.     Probable Cause

      Investigator McMillin swore to the affidavit that accompanied the -4603
warrant application. The first several paragraphs of the affidavit appear to copy-and-


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  Mr. Barnes observes that an erroneous phone number appears in the caption of the
affidavit but does not assert that this is anything more than carelessness, and an
argument to the contrary finds no support in the record. The rest of the affidavit
refers to the correct phone number, does not request a warrant based on the
erroneous phone number, and no warrant for the erroneous phone number was
issued. In light of these facts, the Court concludes that phone number misstatement
is nothing more than a typographical error.

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paste the CI information from the -9283 warrant application discussed above. For the
same reasons, the Court finds that this CI information is well-corroborated and
reliable. However, Mr. Barnes further challenges the information related to the -4603
warrant on additional grounds.

              (a)    Staleness

       First, Mr. Barnes argues that the information in the affidavit was so old as to
no longer support probable cause. (See ECF 63 at 12.) “[T]here is no bright-line test
for determining when information is stale.” United States v. Morrison, 594 F.3d 6262,
631 (8th Cir. 2010) (quoting United States v. Jeanetta, 533 F.3d 651, 655 (8th Cir. 2008)).
Indeed, "[a] time lapse between the informant’s disclosure and the search warrant’s
execution does not necessarily make probable cause fatally stale.” United States v.
Caswell, 436 F.3d 894, 898 (8th Cir. 2006). Instead, a court must examine time factors
within the context of the specific case, including the nature of the criminal conduct
under investigation. Id. In cases such as ongoing drug trafficking investigations, time
lapses of weeks or months will not usually make the information stale. Jeanetta, 533
F.3d at 655; see also United States v. Pitts, 6 F.3d 1366, 1369 (9th Cir. 1993) (“With
respect to drug trafficking, probable cause may continue for several weeks, if not
months, of the reported last instance of suspect activity.” (quoting United States v.
Angulo-Lopez, 791 F.2d 1394, 1399 (9th Cir. 1986))).

       Considering the totality of the circumstances, the Court finds that the
information provided by the CIs was not stale at the time of the -4603 warrant
application. Mr. Barnes was being investigated for ongoing narcotics trafficking. This
is not a case where a single sale was expected to take place at a certain time and date,
after which the information is useless. Nor did the information at issue point to
possession of narcotics at a particular place on a certain day. Instead, the information
provided by the CIs “supported a belief [that Mr. Barnes] was engaged in an ongoing
criminal enterprise….” Jeanetta, 533 F.3d at 655. “Where continuing criminal activity
is suspected, the passage of time is less significant.” United States v. Formaro, 152 F.3d
768, 771 (8th Cir. 1998). In light of this reality, the Court finds that the information
set forth in the affidavit was not so dated as to undermine the validity of the -4603
warrant.




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             (b)    Probable Cause Phone Was Involved in Drug Dealing

      Mr. Barnes’s next challenge to the -4603 warrant is that, because there was no
evidence linking the -4603 phone to Mr. Barnes’s alleged criminal activities, there was
no probable cause for the tracking warrant. The Court finds that this argument is
without merit.

        Of importance to this analysis is the information the warrant was seeking. The
-4603 application sought a pen register, trap and trace, and tracking warrant.
Specifically, officers sought an order directing the service associated with the -4603
phone to provide location and call data, not content of communications made with
the phone. As discussed above, there was probable cause to believe that Mr. Barnes
was involved in narcotics trafficking. If probable cause exists that Mr. Barnes
regularly used the -4603 phone number, there was also probable cause to obtain
tracking and call data. The evidence obtained from tracking Mr. Barnes’s location
through the phone could prove (or disprove) his involvement in drug trafficking
activities, regardless of whether he also used the target phone to conduct those
activities.

       The Court finds that the -4603 warrant affidavit established such probable
cause. Although the affidavit does not establish that Mr. Barnes owns the -4603
phone, it does provide probable cause to believe that he regularly uses the phone.
Investigator Ryan spoke with Sandra Ewing, an employee of the Rochester Police
Department. (Govt. Ex. 2 at 000520.) Ms. Ewing confirmed that Mr. Barnes
contacted her using the -4603 number, identifying himself and speaking with Ms.
Ewing on multiple occasions. (Id.) Ms. Ewing also returned phone calls to the -4603
number, which were answered by Mr. Barnes. (Id.) Furthermore, the affidavit
describes a recording of a jail phone call that was made to the -4603 number. The
individual who answered the phone was identified as Mr. Barnes based on his voice,
which investigators were familiar with due to previously monitored calls and body
camera footage as described above. (Id.) These facts clearly established that Mr.
Barnes regularly used the -4603 phone, and when combined with the CI information
previously discussed, provides probable cause to believe that tracking the phone
would lead to evidence of drug trafficking.




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             2.     Franks Determination

      Although Mr. Barnes does not make a formal request for a Franks hearing, he
implies that one might be necessary due to two elements of erroneous information
provided in the -4603 affidavit. Despite the lack of a formal motion for a hearing, the
Court is able to address this issue on the record already before it.

       Generally, when a court reviews a warrant, it may only examine the information
contained within the “four corners” of the warrant’s affidavit. United States v. Farlee,
757 F.3d 810, 819 (8th Cir. 2014). There is “a presumption of validity with respect to
the affidavit supporting the search warrant.” Franks v. Delaware, 438 U.S. 154, 171
(1978). However, in limited circumstances, a defendant may obtain an evidentiary
hearing, known as a “Franks hearing,” to enable the court to look beyond the four
corners of the affidavit and examine if the affidavit was submitted in bad faith. A
defendant may only obtain a Franks hearing if “(1) he makes a substantial preliminary
showing that the affiant intentionally or recklessly included a false statement in the
warrant affidavit, and (2) the false statement was necessary to the finding of probable
cause.” United States v. Shockley, 816 F.3d 1058, 1061 (8th Cir. 2016) (quotation and
citation omitted). In this case, Mr. Barnes has offered no evidence of intentional
misrepresentations or even recklessness on the part of law enforcement. But even
had such a showing been made, neither of the alleged errors undermines the probable
cause in the affidavit at issue.

       The first alleged mistake is relatively minor. The warrant states that
Investigator Ryan spoke with CI2 in August 2017. (Govt. Ex. 2 at 000520.) However,
testimony at the motion hearing in this matter established that he actually spoke with
CI2 in mid-July 2017. (See Tr. 27.) This error alone does not require close analysis.

       The second and more concerning misstatement is in the fourth paragraph of
the affidavit to the -4603 warrant. This paragraph is nearly identical to the fourth
paragraph of the affidavit accompanying the -9283 warrant, except that the first
application makes clear that the -9283 phone number was used to arrange the
described attempted drug deal. In contrast, the -4603 application is revised to remove
the sentence tying the drug transaction to the -9283 number, but leaving the assertion
that the drug deal was made with “this phone number” in place, a clearly inaccurate


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statement.3 This is arguably a more concerning error. And although there has been
no showing of intentional conduct, the Court notes that both affidavits were prepared
and sworn to by Officer McMillin, who must have been aware of both the truth and
the contradiction. Even could this factual landscape support an inference of
recklessness on the part of law enforcement, however, suppression is nonetheless not
required.

        Once a defendant has met the threshold showing for a Franks hearing, the
court must examine the affidavit with the false information corrected or excised, or
the omitted information included. E.g., Franks, 438 U.S. at 155–56; United States v.
Jacobs, 986 F.2d 1231, 1233–34 (8th Cir. 1993). The revised warrant is invalid and the
fruits of the search must be suppressed if the corrected application fails to establish
probable cause. Franks, 438 U.S. at 155–56. In this case, the question is whether
probable cause is lacking when the date of the conversation with CI2 is corrected from
August 2017 to July 2017, and when the omitted sentence describing the -9283 phone
number is included. The Court concludes that even if the information had been set
forth correctly, probable cause still exists to support the -4603 warrant.

       Correcting the date has little impact on the probable cause analysis because, as
discussed above, the overall information provided was not stale when the warrant was
issued. CI2’s information regarding New York’s ongoing drug dealing supports a
finding of probable cause in September 2017, whether that particular conversation
took place in July 2017 or August 2017. Similarly, making clear that CI2’s phone call
to New York was made to the -9283 number and not the -4603 number that the
warrant sought to track does vitiate probable cause for several reasons. First, the
phone call still establishes probable cause that New York, known to be Mr. Barnes,
was actively engaged in drug trafficking during the course of the investigation,
regardless of the phone he used to do so. Second, as explored above, numerous

3
 Compare the text of Government Exhibit 1 (the -9283 warrant): “The CI stated that
‘New York’ drives a Dodge Charger and is a black male. The CI stated that ‘New
York’s’ phone number is [-9283]. The CI then placed a phone call to ‘New York’ at
this phone number,” with the text of Government Exhibit 2 (the -4603 warrant):
“The CI stated that ‘New York’ drives a Dodge Charger and is a black male. The CI
then placed a phone call to ‘New York’ at this phone number.” The omission of the
middle sentence in the -4603 warrant clearly leads the reader to believe that the phone
call made by the CI was to the -4603 number, not the -9283 number.

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references to the use of the correct -4603 number throughout the affidavit make it
clear that Mr. Barnes regularly uses the second phone, giving rise to an inference that
he may carry it with him when he engages in drug-related activities. For many of the
same reasons as discussed in subsection 1(b) above, therefore, probable cause existed
that evidence of drug trafficking would be found in a particular place, namely, the
location information for Mr. Barnes’s -4603 phone.

      In sum, even if Mr. Barnes had satisfied the preliminary showing required by
Franks to look beyond the four corners of the -4603 affidavit, the resulting corrected
information still establishes probable cause to support the issuance of the warrant.
Suppression on this basis is not required.

              3.     Leon

       Finally, Mr. Barnes argues that the misleading information in the affidavit
renders Leon inapplicable. However, because the Court has determined that Mr.
Barnes has not established that a Franks violation occurred, it may proceed to a good
faith analysis. United States v. Conant, 799 F.3d 1195, 1202 (8th Cir. 2015); United States
v. Puckett, 466 F.3d 626, 629–30 (8th Cir. 2006). The Court concludes that even if the
-4603 warrant was not based on sufficient probable cause, the Leon good faith
exception to the exclusionary rule would prevent suppression. As explored above, the
alleged mistakes not only do not undermine the probable cause set forth in the
warrant, but Mr. Barnes has offered no evidence on intentional or reckless conduct on
the part of the officers. As the above review demonstrates, the warrant application
was neither facially deficient nor devoid of an adequate showing of probable cause as
to render reliance on the resulting warrant unreasonable.


       C.     The Warrants for dfbarnes@gmail.com and
              lifechangingfinances@gmail.com


       Mr. Barnes next challenges the warrants that were issued for two email
accounts associated with him: dfbarnes@gmail.com and
lifechangingfinances@gmail.com. (Govt. Exs. 3, 4, collectively, “the Gmail
warrants.”) Because Mr. Barnes’s challenge to each of these warrants is the same, and


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because the warrants themselves are substantially similar, the Court will consider them
in tandem. Mr. Barnes does not challenge the existence of probable cause for these
warrants; instead, he argues that both were overbroad. The Court disagrees.

       A warrant “must particularly describe the things to be seized, as well as the
place to be searched.” Dalia v. United States, 441 U.S. 238, 255 (1979) (quoting Stanford
v. Texas, 379 U.S. 476, 485 (1965)). This particularity requirement is met when the
warrant is “sufficiently definite to enable the searching officers to identify the
property authorized to be seized.” United States v. Sigillito, 759 F.3d 913, 923 (8th Cir.
2014). Courts review the particularity of a warrant based on factors such as “the
purpose for which the warrant was issued, the nature of the items to which it is
directed, and the total circumstances surrounding the case.” United States v. Fiorito, 640
F.3d 338, 346 (8th Cir. 2011). The analysis should be practical and not
hypertechnical. United States v. Peters, 92 F.3d 768, 769–70 (8th Cir. 1996).


       The Gmail warrants permit the seizure of substantial data from Google, the
custodian of the information, for each Gmail account. This includes all information
regarding the email account, all records and historical search data associated with the
email account, geolocation data associated with the account, and associated “files and
content” from various Google services, including Hangouts, Picasa, Drive, Sheets,
Sites, Voice, Google+ and PlusOne. (Govt. Exs. 3 at 00001603–4, 4 at 000556–57.)
The warrants then instruct law enforcement to review the data provided by Google to
identify documents, files, and data relating to the specific offenses under investigation,
including photographs of firearm or trafficking activities and email correspondence,
social media activity, and web history relating to the same. (Govt. Exs. 3 at
00001604–5, 4 at 000557–58.) Each warrant provides a specific procedure for this
review:
      The electronic communication services provide must provide all items in
      the accounts above, because the out-of-state electronic communications
      service provider has no reasonable means to distinguish evidence of the
      crimes from any other records contained within the sought after
      accounts. Therefore, after the electronic communication services
      provider seizes the items and produces them to me, Affiant and/or
      other designated agents authorized to execute the warrant or assist
      therein will sort the items for evidence of the crimes articulated above,


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       which may be intermingled with innocent or innocuous documents or
       records. Files, documents, and data that are determined to be irrelevant
       to the crimes described herein will be segregated and not subject to
       further review.
(Govt. Ex. 3 at 00001605 ¶ d; see also Govt. Ex. 4 at 000558 ¶ d (same).) This two-
phase approach to search and seizure of electronically stored information is
specifically contemplated by Rule 41(e)(2)(B) of the Federal Rules of Criminal
Procedure. The Advisory Committee notes to the 2009 Amendment of this rule are
particularly instructive:
     Computers and other electronic storage media commonly contain such
     large amounts of information that it often impractical for law
     enforcement to review all of the information during execution of the
     warrant at the search location. This rule acknowledges the need for a
     two-step process: officers may seize or copy the entire storage medium
     and review it later to determine what electronically stored information
     falls within the scope of the warrant.
See also United States v. Beckman, 786 F.3d 672, 680 n.6 (8th Cir. 2015).

        Though this rule is primarily concerned with the time taken to execute
the first phase of the warrant, the Court finds that it is a practical approach to
the particularity requirement of the Fourth Amendment. There was no method
by which Google or the law enforcement officers could distinguish evidence of
crimes from Mr. Barnes’s more innocent electronic data and files. Thus, as a
practical matter, the seizure of all of Mr. Barnes’s files and the later review of
those files for evidence of criminal activity, was the most reasonable approach.
See United States v. Summage, 481 F.3d 1075, 1079–80 (8th Cir. 2007) (finding
that a warrant authorizing the broad seizure of all electronic media equipment
and storage followed by an off-site analysis of the items seized met the
particularity requirement); see also United States v. Hassan, No. 18-cr-26
(PJS/SER), 2018 WL 2344452 at *6 (D. Minn. May 8, 2018) (“[A] failure to
anticipate where data may be located does not render a search warrant overly
broad.”), report and recommendation adopted, 2018 WL 2342902 (D. Minn. May 23,
2018). Mr. Barnes’s argument that the email account warrants were overbroad
is inconsistent with the law.




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       D.     Delay in Return of the Wells Fargo Warrant

        Mr. Barnes argues that the delay in the return of the Wells Fargo warrant
provides an independent basis for its suppression.4 The Court disagrees. Neither the
federal rule of criminal procedure governing the return of search warrants nor its
Minnesota statutory counterpart support a claim that failure to promptly return a
warrant requires suppression of the items seized. Rule 41(f) of the Federal Rules of
Criminal Procedure describes the procedure for execution and return of search
warrants. After executing the warrant, Rule 41(f)(1)(D) requires the executing officer
to “promptly return” the warrant, along with an inventory of items seized, to a
designated magistrate judge. Minnesota Statutes Section 626.17 states that an “officer
must immediately return the warrant to the court….” Neither rule defines “prompt”
or “immediately, but the Court assumes that returning a warrant more than a year
after it was executed is not prompt. While the late return in this case is therefore a
violation of the state statute, the question before the Court is whether this violation
requires suppression of the collected evidence under the Fourth Amendment. The
Court concludes that it does not.

       “Noncompliance with [Rule] 41 prerequisites does not automatically require the
exclusion of evidence in a federal prosecution.” United States v. Schoenheit, 856 F.2d 74,
76 (8th Cir. 1988). “When the government violates Rule 41, the Court may exclude
the evidence described in the search warrant only ‘if the defendant is prejudiced or if
reckless disregard of proper procedure is evident.’” United States v. Beckmann, 786 F.3d
672, 680 (8th Cir. 2015) (quoting United States v. Mutschelknaus, 592 F.3d 826, 829 (8th
Cir. 2010); see also United States v. Welch, 811 F.3d 275, 280 (8th Cir. 2016) (“[A Rule 41]
procedural violation is not per se an unreasonable search and seizure in violation of
the Fourth Amendment.”).



4
  To the extent that Mr. Barnes contests the late filing of the warrant return with the
Olmstead County Clerk, he cites no authority to suggest that late filing of warrant
documents provides a basis for suppression, and the Court finds none. Furthermore,
the Court notes that in this case, filing the warrant and its return with the court clerk
appears to be a ministerial function of the state courts. The Court finds no authority
to suggest that failing to meet the ministerial requirements of a state court would give
rise to Fourth Amendment concerns.

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       Minnesota Courts follow a similar rule. Citing United States Supreme Court
precedent, the Minnesota Supreme Court determined that failure to return a warrant
did not require suppression, noting that “relatively minor irregularities in the
execution of a search warrant which occur after a valid search and seizure are not
‘constitutionally significant’ and will not retroactively render the evidence seized
inadmissible.” State v. Mollberg, 246 N.W.2d 463, 469 (Minn. 1976) (citing Cady v.
Dombrowski, 413 U.S. 433 (1973); see also State v. Steele, No. C3-92-1309, 1993 WL
52154 at *1 (Minn. Ct. App. Mar. 2, 1993) (“Failure to comply with a warrant
inventory return requirement does not mandate exclusion of evidence.”)

       Mr. Barnes has made no showing of prejudice resulting from the long-delayed
return.5 To determine prejudice in such a case, the Court must determine whether the
search would have occurred if proper procedure had been followed. United States v.
Turner, 781 F.3d 374, 387 (8th Cir. 2015). If the search would have happened anyway,
then no prejudice exists. Id. Here, the Court easily concludes that the search would
have occurred regardless of the rule violation. Mr. Barnes has also failed to make a
showing of reckless disregard of proper procedure, and the record before the Court
does not support such a finding. Thus, the Court finds that no constitutional
violation occurred by virtue of the late return.

      E.     Mr. Barnes’s Arrest

       Mr. Barnes challenges his warrantless arrest, arguing that officers did not have
probable cause to arrest him on October 20th, 2017. The Fourth Amendment
permits warrantless arrests when the arresting officer has “probable cause to believe
that criminal offense has been or is being committed.” Devenpeck v. Alford, 543 U.S.
146, 152 (2004). “Whether probable cause exists depends upon the reasonable
conclusion to be drawn from the facts known to the arresting officer at the time of
arrest.” Devenpeck, 543 U.S. at 152. Probable cause is present “when the totality of
the circumstances at the time of the arrest are sufficient to lead a reasonable person to


5
 In Mr. Barnes’s comments to the Court, he repeatedly suggests that the late return of
this warrant means that the warrant must be fabricated. He has presented no
evidence of fabrication, and the Court’s extensive review of the record reveals none.
Thus, the Court finds no reason to address this argument further.

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believe that the defendant has committed or is committing an offense.” Borgman v.
Kedley, 646 F.3d 518, 523 (8th Cir. 2011.)

       Where multiple officers have been involved in a case, the arresting officer need
not have personal knowledge of all the facts that support probable cause. Instead, the
collective knowledge of all investigating officers may be imputed to the arresting
officer, provided there has been “some degree of communication.” United States v.
Robinson, 664 F.3d 701, 703 (8th Cir. 2011); see also United States v. Gonzales, 220 F.3d
922, 925 (8th Cir. 2000). “This requirement serves to distinguish between officers
functioning as a search team and officers acting as independent actors who merely
happen to be investigating the same subject.” Robinson, 664 F.3d at 704 (quotation
omitted). Examining the totality of the circumstances and considering the
information known to all officers involved, ample probable cause existed to arrest Mr.
Barnes.

       In arguing that probable cause for his arrest did not exist, Mr. Barnes overstates
the importance of Mr. Hoerner’s statements to the officers who responded to the
October 20 911 call. Specifically, Mr. Barnes suggests that his arrest must be
supported entirely by information gathered on the morning of October 20th, through
the 911 call and the follow-up investigation. Although Mr. Hoerner’s and Ms. Cada’s
representations that morning are certainly part of the probable cause analysis, the
Court’s assessment does not stop there. Instead, the Court must consider the totality
of the circumstances, including all of the information known to any of the
investigating officers, as long as a showing of communication has been made. See
Robinson, 664 F.3d at 703.

       Investigator Ryan’s testimony at the hearing makes clear that he, Investigator
McMillin, and other officers involved in Mr. Barnes’s arrest were in regular
communication before Mr. Barnes’s arrest. On October 20th, the investigators
learned that a 911 call had been placed at the 11th Street address, which they knew to
be a place of interest in the Barnes investigation. (Tr. 46.) Shortly thereafter, they
spoke to the responding officers and reviewed the information that they knew up to
that point. (Id. at 46–47.) Investigator Ryan specifically testified that speaking with
the other officers allowed them all to conclude that they had probable cause to arrest
Mr. Barnes. (Id. at 47–48.) It is clear that more than just “some degree of
communication” occurred between law enforcement officers on the day of Mr.

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Barnes’s arrest. Thus, the Court considers the entire universe of information that law
enforcement knew when they arrested him.

       Examining the information as a whole, there is no doubt that the arresting
officers had probable cause to believe a criminal offense had been or was being
committed. First, as a result of their ongoing investigation, the officers had evidence
from a variety of sources regarding Mr. Barnes’s involvement in drug trafficking
crimes. Officers knew that Mr. Barnes had been seen in jail with significant cash and
had spoken about drug dealing activities with other inmates. They knew that he paid
for extravagant items such as expensive cars in cash, but that he did not put the cars
in his own name. Officers also had information regarding a party where overdoses
due to bad drugs had occurred on September 30, 2017. (Tr. 41.) A partygoer
identified a man named “Frederick” who drove a white Dodge Charger as providing
drugs to the party. (Id.) She told officers that he fled once the bad reactions began.
(Id.) Geolocation information from Mr. Barnes’s phone placed him at the area of the
party that night. (Id. at 42.)

       Most importantly, several informants had told law enforcement that they had
purchased drugs from a black man named New York, who the officers knew to be
Mr. Barnes. One of those informants had told officers that Mr. Barnes had mailed
drugs to the 11th Street address in the past. And officers had GPS data that indicated
that Mr. Barnes was at or in the vicinity of the 11th Street address around the time
that the package was dropped off. It was entirely reasonable for officers to believe
that Mr. Barnes was involved in a serious drug trafficking offense on October 20,
2017 at the Hoerner residence.

       Mr. Barnes focuses on discreet facts that he says demonstrate that the officers
did not have probable cause. For example, Ms. Cada only took a photo of one man in
a black sweatshirt who was not Mr. Barnes. However, Ms. Cada told responding
officers that another man wearing a red sweatshirt had also been present at the house
asking for the package. (Tr. 64.) The government suggests that this person was Mr.
Barnes, although his identity remains unconfirmed. Mr. Barnes, however, notes that
when he was arrested about an hour later, he was not wearing a red sweatshirt but a
gray t-shirt, and no red sweatshirt was found. (Id. at 83.) He also highlights the fact
that he was found with a different car than the Dodge Charger that Mr. Hoerner told


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officers Mr. Barnes was driving. (Id.) And he emphasizes that Mr. Hoerner stated that
the man in the photo—definitely not Mr. Barnes—was New York. (Id. at 66–67.)

         Examining this evidence within the totality of the circumstances, the Court
finds that the evidence known to officers established probable cause for Mr. Barnes’s
arrest. There was sufficient time for Mr. Barnes to change out of a red sweatshirt
between the last time Ms. Cada saw him and when he was arrested. And Mr. Barnes
was known to drive different vehicles on a regular basis, so officers could infer that he
changed both vehicles and clothes after Mr. Hoerner told him that law enforcement
had been called. While these facts may be marshalled before a jury in an attempt to
undermine the government’s substantial burden of proof at Mr. Barnes’s eventual
trial, they do not render his arrest unlawful. In light of the substantial volume of
incriminating facts known to officers at the time of his arrest, that arrest was
supported by probable cause.

      F.     Motion to Dismiss

       Mr. Barnes next argues that his indictment must be dismissed because his
current federal prosecution violates his due process rights. Mr. Barnes is currently
being prosecuted for the same or substantially similar charges in state court and
federal court. Indeed, the case began in state court and proceeded there for several
months before his federal indictment. He points to recent Supreme Court decisions
that question the validity of the “dual-sovereign doctrine” to raise due process
concerns regarding this dual prosecution. He also encourages this Court to dismiss
his indictment for vindictive prosecution, citing the Petite Policy, which advises against
federal prosecution for the same offense as a state prosecution. Neither argument
carries the day, and Mr. Barnes’s motion to dismiss should be denied.

             1.     Double Jeopardy

       Mr. Barnes’s challenge to his federal prosecution is essentially a claim that being
prosecuted for the same offense simultaneously in two courts violates the
constitution. For two reasons this argument fails. First, although Mr. Barnes may be
correctly predicting a change in the law regarding the dual-sovereign doctrine, the
Court is bound by the law as it exists today, and that jurisprudence forecloses his


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claim. More importantly, because he has yet to be convicted in either court, his claim
is at best premature.

       Under the dual-sovereign doctrine, “a single act gives rise to distinct offenses—
and thus may subject a person to successive prosecutions—if it violates the laws of
separate sovereigns.” Puerto Rico v. Sanchez Valle, 136 S.Ct. 1863, 1867 (2016). The
states are separate sovereigns from the federal government—a fact that Mr. Barnes
does not dispute. See id. at 1871 (citing Abbate v. United States, 359 U.S. 187, 195
(1959). Rather, he cites Justice Ginsburg’s recent concurrence in Sanchez Valle, which
questions the validity and consequences of the current iteration of the dual-sovereign
doctrine. Id., at 1877. Mr. Barnes also highlights United States v. Gamble, 694 F. Appx.
750 (11th Cir. 2017), cert granted, 138 S.Ct. 2707 (2018), a case in which the United
States Supreme Court recently heard argument regarding the dual-sovereign exception
to the general prohibition on multiple prosecutions for the same offense. The
Supreme Court has not yet issued a decision in Gamble. Here, as the Eleventh Circuit
noted in Gamble, “unless and until the Supreme Court overturns Abbate, the double
jeopardy claim must fail based upon the dual sovereignty doctrine.” Gamble, 694 F.
Appx. At 751.

       Mr. Barnes’s argument on this point must fail for a second reason. Although
Mr. Barnes has been charged with seemingly the same offense in both state and
federal courts, he has not been convicted of a crime in either. Mr. Barnes is not
protected against prosecution for the same offense until after conviction. See, e.g.,
Ohio v. Johnson, 467 U.S. 493, 498–99 (1984). Moreover, although the Court
recognizes that there may be unfairness as a result of simultaneous prosecution in two
courts, Mr. Barnes makes no claim of prejudice or harm here, and he does not
describe any way in which the state case is undermining his federal due process
protections. Indeed, there is no information in the record before the Court to suggest
that the state case has remained active after Mr. Barnes was indicted federally. Mr.
Barnes points to no authority for the argument that a pending but inactive state case
somehow violates his federal constitutional rights. His motion to dismiss the
indictment on this basis should be denied.




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              2.     Vindictive Prosecution

       Mr. Barnes also argues that the government is violating his due process rights
by engaging in a vindictive prosecution. Vindictive prosecution occurs when the
government punishes a defendant for exercising valid legal rights, rather than for
committing a crime. United States v. Robinson, 809 F.3d 991, 1000 (8th Cir. 2016).
Demonstrating prosecutorial vindictiveness is not easy. “The defendant bears the
‘heavy’ burden to show that the prosecution was vindictive, in light of the discretion
prosecutors are given in performing their duties.” Id. (citing United States v. Leathers,
354 F.3d 955, 961 (8th Cir. 2004). In the absence of objective evidence, “a defendant
may, in rare instances, rely upon a presumption of vindictiveness if he provides
sufficient evidence to show [that] a reasonable likelihood of vindictiveness exists.”
United States v. Chappell, 779 F.3d 872, 879 (8th Cir. 2015) (citation and quotation
omitted). The Court concludes that Mr. Barnes has not carried this burden.

       Mr. Barnes argues that because his dual prosecution is against the Petite Policy,
the Court should find that an improper motive for that prosecution exists. This
argument does not carry the day. First, the Court notes once again that Mr. Barnes
has not been convicted in state court; thus, the Petite Policy does apply in this
circumstance. Moreover, the Petite Policy is “an internal Department of Justice policy
that prohibits a federal prosecution of a defendant who has been convicted in a state
court for the same conduct unless the subsequent federal prosecution is specifically
authorized by the Attorney General.” Leathers, 354 F.3d at 962 n.5. The Eighth
Circuit has repeatedly rejected the suggestion that a prosecution that violates the
Policy is necessarily vindictive. See, e.g., id. at 962–63; United States v. Basile, 109 F.3d
1304, 1308 (8th Cir. 1997); United States v. Lester, 992 F.2d 174, 176 (8th Cir. 1993).
The Petite Policy is a discretionary policy that “does not confer any substantive rights
and its application cannot form the basis for a claim of improper prosecution.”
Leathers, 354 F.3d at 962.

       Mr. Barnes points to other circumstances that he argues support dismissal due
to vindictive prosecution. He highlights a statement made by Investigator McMillan
during a post-arrest interview, which he characterizes as a threat of federal
prosecution. Specifically, Investigator McMillin stated: “Talk to your lawyer, if you
are willing to cooperate, we will try to keep feds off your back. I got a call today from


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LeeAnn Bell [the federal prosecutor in this case], she wants you back. That is all I am
going to say.” (Plf.’s Mem. at 33.) This statement does not rise to the level of
evidence of vindictive prosecution. First and foremost, this statement appears to be a
standard effort to persuade someone to cooperate by threatening more serious
consequences if they do not. Investigator McMillin is a state police officer, not a
federal prosecutor. He has no authority to choose what cases the federal government
prosecutes. And even if he did, a truthful statement that a federal prosecutor is
considering bringing federal charges against a person with a prior federal drug
conviction evidences the exercise of prosecutorial discretion, rather than
vindictiveness. 6


III.   Recommendation

       In sum, for the reasons set forth above, the Court concludes that Mr. Barnes’s
challenges to the constitutionality of the proceedings in this matter do not carry the
day.

       Accordingly, the Court makes the following recommendations:

1.     Mr. Barnes’s Motion to Suppress (ECF No. 43) be DENIED;

2.     Mr. Barnes’s Motion to Dismiss Indictment (ECF No. 49) be DENIED; and

3.     Mr. Barnes’s Supplemental Motion to Suppress (ECF No. 51) be DENIED.


Date: April 8, 2019                             s/Katherine Menendez
                                                Katherine Menendez
                                                United States Magistrate Judge




6
 Mr. Barnes also highlights the significant delay in the execution and return of the
Wells Fargo warrant as further evidence of vindictive prosecution. He provides no
additional support for this argument, and the Court finds none.

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